Case 1:05-cV-01023-.]DB-STA Document 14 Filed 07/01/05 Page 1 of 2 Page|D 10

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IN THE UNITED STATES DISTRICT COURT 55§` j /. _ ;/
FOR THE WESTERN DISTRICT OF TENNESSEE "':// x " a _
WESTERN DIVISION '

PATRICIA PATTERSON,

 

Appellant,
v. No. 05-1023-B/An

JO ANNE BARNHART, COMMISSIONER
OF SOCIAL SECURITY,

Appellee.

 

ORDER OF REFERENCE

 

This social security appeal is referred to the United States Magistrate Judge for a report
and recommendation Any exceptions to the magistrate judge’s report shall be made in writing
within ten (10) days after service of the report, setting forth particularly those portions of the
report excepted to and the reasons for the exceptions S_ee 28 U. S. C. § 636(b)(l).

IT IS SO ORDERED this ;_O day Of June, 2005

BM

UJ. DANIEL BREEN \
UED STATES DISTRICT JUDGE

This document entered on the docket sheet |n com lance
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This notice confirms a copy of the document docketed as number 14 in
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Honorable J. Breen
US DISTRICT COURT

